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   6 Attorneys for Plaintiff

   7

   8                      CENTRAL DISTRICT OF CALIFORNIA
   9                       UNITED STATES DISTRICT COURT

  10 LONNIE WALL,

  11                                            CASE: CV12-6311-JAK (SPx)
            Plaintiff,
  12                                            Assigned to Hon. John J. Kronstadt
  13                           v.
                                                OBJECTION TO DEFENDANTS’
  14 HSBC BANK USA, a National                  PROPOSED JUDGMENT;
  15 Association; MORTGAGE                      MEMORANDUM OF POINTS AND
       ELECTRONIC REGISTRATION                  AUTHORITIES IN SUPPORT
  16 SYSTEMS, INC., a Delaware                  THEREOF
  17 Corporation; ALL PERSONS
       UNKNOWN CLAIMING ANY LEGAL
  18 OR EQUITABLE RIGHT, TITLE,
  19 ESTATE, LIEN OR INTEREST IN THE
       PROPERTY DESCRIBED IN THE
  20 COMPLAINT ADVERSE TO

  21 PLAINTIFF’S TITLE THERETO; and
       DOES 1-10, inclusive,
  22

  23        Defendants.
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  27                                        1
          OBJECTION TO DEFENDANTS’ PROPOSED JUDGMENT; MEMORANDUM OF POINTS AND
  28                          AUTHORITIES IN SUPPORT THEREOF
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       TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

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            Plaintiff Lonnie Wall (hereinafter “Plaintiff”) by and through his attorneys of

   3
       record hereby opposes to Proposed Judgment in Favor of Defendants HSBC Bank,

   4 USA, N.A., and Mortgage Electronic Registration Systems, Inc (hereinafter

   5 “Defendants”). Plaintiff objects to Defendants’ request for award of Defendants’

   6 costs of suit. This Opposition is based on the Memorandum of Points and Authorities

   7 in support thereof, all the papers on file with the Court, and any arguments made by

   8 Plaintiff’s counsel at the hearing if such to be scheduled for this matter.

   9

  10 DATED: June 21, 2013                    LAW OFFICE OF JEREMY J. ALBERTS
  11

  12

  13                                         By:     /Batkhand Zoljargal/
  14
                                                     Jeremy J. Alberts
                                                     Batkhand Zoljargal,
  15                                                 Attorneys for Plaintiff,
  16
                                                     Lonnie Wall

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          OBJECTION TO DEFENDANTS’ PROPOSED JUDGMENT; MEMORANDUM OF POINTS AND
  28                          AUTHORITIES IN SUPPORT THEREOF
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   1
                     MEMORANDUM OF POINTS AND AUTHORITIES

   2
       1.     INTRODUCTION

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              In this instant action, Plaintiff filed a second amended complaint on April 16,

   4 2013 and Defendant filed a motion to dismiss the second amended complaint

   5 (hereinafter “Motion to Dismiss”) on April 26, 2013. The court issued an order

   6 granting Defendants’ Motion to Dismiss with prejudice. Defendants filed Proposed

   7 judgment in favour of Defendants HSBC Bank, USA, N.A., and Mortgage Electronic

   8 Registration Systems, Inc. (hereinafter “Proposed Order”) on June 17, 2013. In the

   9 Proposed Order, Defendants requested that Defendants be awarded their costs of suit,

  10 pursuant to a memorandum of costs. Herewith, Plaintiff objects to the award of

  11 Defendants’ costs for the reasons stated below.

  12 2.       NO ATTORNEY FEES SHOULD BE AWARDED TO DEFENDANTS IN

  13 CONNECTION TO PLAINTIFF’S CAUSE OF ACTION FOR VIOLATION

  14 OF THE HELPING FAMILIES SAVE THEIR HOMES ACT OF 2009 [15

  15 U.S.C. § 1641(g)]

  16          The United States Court of Appeals for the Ninth Circuit has long stated that

  17 the TILA Statute “serves the dual purpose of providing a remedy for harm to the

  18 monetary interest of individuals while serving to deter socially undesirable lending
  19 practices by penalizing those who violated its provisions.” Riggs v. Government
                                                       th
  20 Employees Financial Corp., 623 F.2d 68, 72 (9 Cir. 1980). Other appellate courts

  21 agreed that the Truth in Lending Act and Regulation Z are to be construed liberally in

  22 favor of the consumer and strictly enforced because their purpose is to protect
                                                        th
  23 consumers. Sellers v. Wollman, 510 F.2d 119 (5 Cir. 1975); Allen v. Beneficial
                                     th
  24 Finance Co., 531 F.2d 797 (7 Cir. 1976).

  25          Here, Plaintiff alleged in his Second Amended Complaint that Defendants
  26 violated the federal statute. Defendants made at least two assignments of the Deed of
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            OBJECTION TO DEFENDANTS’ PROPOSED JUDGMENT; MEMORANDUM OF POINTS AND
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       Trust, subject of this lawsuit, and in both cases failed to send copies of the

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       assignments to Plaintiff. Defendants have created sophisticated financial mechanisms,

   3
       transferring loan mortgages to securitized trusts, yet failed to give Plaintiff a simple

   4 notice of assignment. Plaintiff did not even know who his actual lender was.

   5         In Plaintiff’s case, the initial lender was Empire Financial, then the loan was

   6 transferred to Indymac Federal Bank, FSB which in turn transferred it to Defendant

   7 HSBC Bank as Trustee for a securitized trust. Meanwhile, Indymac, but this time as

   8 Indymac Mortgage Services, a division of OneWest Bank, FSB continued to service

   9 Plaintiff’s loan. All Plaintiff asked was to be given some notice of such assignments.

  10 Defendants engaged here in “socially undesirable lending practices.” It cannot be

  11 argued that creating sophisticated trusts to maximize profits yet failing to give a

  12 simple notice to a borrower is a socially desirable lending practice. And now,

  13 Defendants want to burden Plaintiff here with attorney fees and costs of this suit

  14 simply because he tried to assert that his rights had been violated. Therefore, no

  15 attorney fees should be awarded to Defendants in connection to Plaintiff’s cause of

  16 action for violation of the helping families save their homes act of 2009 [15 u.s.c. §

  17 1641(g)].

  18 3.      NO ATTORNEY FEES SHOULD BE AWARDED TO DEFENDANTS IN
  19 CONNECTION TO PLAINTIFF’S CAUSE OF ACTION FOR ALL CAUSES

  20 OF ACTION

  21         In the opinion issued just a month ago, on May 21, 2013, the United States
  22 Court of Appeals for the Ninth Circuit dealt with the award of attorney fees to

  23 Defendants in a mortgage loan case. That case is strikingly similar to the one here. In

  24 that case, the Court of Appeals stated that the district court properly had concluded

  25 that, under federal law, which governs the attorney's fee determination as provided in

  26 the Note and Deed of Trust, it had discretion to deny the contractually-authorized
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       attorney's fees if an award of fees would be “inequitable and unreasonable.” Theros v.

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       First Am. Title Ins. Co., 11-35612, 2013 WL 2176977 (9th Cir. May 21, 2013)(citing

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       Anderson v. Melwani, 179 F.3d 763, 766 (9th Cir.1999); DeBlasio Constr., Inc. v.

   4 Mountain States Constr. Co., 588 F.2d 259, 263 (9th Cir.1978); see also GECCMC

   5 2005–C1 Plummer St. Office L.P. v. JPMorgan Chase Bank, N.A., 671 F.3d 1027,

   6 1033 (9th Cir.2012)(applying federal common law where contract provided that

   7 federal law governs the agreement)). Moreover, the Ninth Circuits went on to say that

   8 the district court did not abuse its discretion in declining to award the contractually-

   9 authorized attorney's fees to Wells Fargo because such an award of fees would be

  10 inequitable and unreasonable. Id. (citing Anderson, 179 F.3d at 766–67 (district court

  11 must determine whether attorney's fee award would be appropriate, and it abuses its

  12 discretion if it awards contractually-authorized fees that are inequitable and

  13 unreasonable)).

  14         17.   Here, the Deed of Trust for the loan, subject of the current lawsuit, states

  15 clearly in the paragraph 16 that “[t]his Security Instrument shall be governed by

  16 federal law and the law of the jurisdiction in which the Property is located.” Plaintiff

  17 here had to endure a circus with Defendants. First, Defendants failed to provide

  18 Plaintiff with simple notices of their multiple and sophisticated assignments, leaving
  19 Plaintiff in a total darkness and blindness about his actual lender/mortgagee.

  20         Second, Plaintiff had to participate in classic cases of violative banking
  21 practices some of which are now prohibited by California legislature (Homeowner’s

  22 Bill of Rights) – dual tracking, failing to appoint a single contact, failing to answer

  23 Plaintiff’s communications and freely giving out broken promises of loan

  24 modification. In or around May 2011, Plaintiff submitted an application for the Home

  25 Affordable Modification Program (hereinafter “HAMP”) to Indymac. The Indymac

  26 customer response team stated that “[t]he investor holding your note does not allow
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          OBJECTION TO DEFENDANTS’ PROPOSED JUDGMENT; MEMORANDUM OF POINTS AND
  28                          AUTHORITIES IN SUPPORT THEREOF
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       modifications under HAMP.” Then on or around February 10, 2012 , Plaintiff talked

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       to Reginald Phillips, an Indymac representative, who told him that modification is

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       suddenly possible now and that Plaintiff needed to submit his HAMP application by

   4 February 21, 2012. However, at the same time, HSBC Bank’s foreclosing agent,

   5 NDEX, posted a Notice of Trustee’s Sale on Plaintiff’s door on or around February

   6 17, 2012. Then on or around February 24, 2012, another representative of Indymac

   7 asked Plaintiff to resend the already submitted documents. Finally on or around April

   8 23, 2012, Indymac confirmed that they have received Plaintiff’s Loan Modification

   9 Application. Indymac requested the new hardship letter. Plaintiff submitted the

  10 requested documents and information. Yet only on or around July 02, 2012 –

  11 Indymac representatives answered one of many Plaintiff’s calls. Indymac informed

  12 Plaintiff that there was no sufficient time for the loan modification to be completed,

  13 thus, they would just go ahead and sell the Property. Plaintiff also received a denial

  14 letter from Indymac, dated June 29, 2012, stating that they were unable to fulfill

  15 Plaintiff’s application for a modification “due to an imminent foreclosure sale of the

  16 property.” Yet, there was no “imminent foreclosure sale of the property.”

  17         For the last full nine months, Plaintiff’s attorneys had a chance to experience

  18 the same circus with Defendants’ loan modification practices – Defendants’ attorneys
  19 requested a document after a document all this time. And every single time, Plaintiff

  20 submitted the requested documents. And now Defendants want to saddle Plaintiff

  21 with attorney fees. An award of fees to Defendants here would be “inequitable and

  22 unreasonable.”

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           OBJECTION TO DEFENDANTS’ PROPOSED JUDGMENT; MEMORANDUM OF POINTS AND
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       4.     CONCLUSION

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              For the reasons stated above, Plaintiff respectfully requests that the Court

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       DENY Defendants’ request for costs of the suit.

   4

   5 DATED: June 21, 2013                      LAW OFFICE OF JEREMY J. ALBERTS

   6

   7                                           By:    /Batkhand Zoljargal/
   8                                                  Jeremy J. Alberts
                                                      Batkhand Zoljargal,
   9                                                  Attorneys for
  10                                                  Lonnie Wall
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            OBJECTION TO DEFENDANTS’ PROPOSED JUDGMENT; MEMORANDUM OF POINTS AND
  28                            AUTHORITIES IN SUPPORT THEREOF
